Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 1 of 18 PageID# 4096




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                     -   Alexandria Division -

 ___________________________________
                                     )
 ERIK J. CARDIN                      )
                                     )
 versus                              )               Case No.: 1:19-cv-1646 LO/JFA
                                     )
 LEAH M. OLSZEWSKI                   )
 ____________________________________)


                   PLAINTIFF ERIK J. CARDIN MOTION FOR
                        A PERMANENT INJUNCTION

        In his Second Amended Complaint, Plaintiff Erik J. Cardin identified his REQUESTED

 RELIEF. In ¶ C of “Request Relief,” the Relief sought included the following:

        Plaintiff Erik J. Cardin requests the Court to issue an injunction barring Ms.
        Olszewski from making further claims against him based on the allegations described
        in this Second Amended Complaint.

        As confirmed in the trial testimony, the case was brought in part to bring to an end

 Defendant Olszewski’s relentless torment of SMSgt. (R) Cardin. The trial evidence

 confirmed her 15 Complaints/Actions against Erik Cardin since late-2017 – she has prevailed

 on none. The Jury Verdict was for Plaintiff Cardin on his Alexandria and Arlington claims

 for Malicious Prosecution. See FIGURE 1 below. The Verdict Form shows clearly that the

 Jury found “Legal Malice” on both Malicious Prosecution claims, and then separately found

 “Actual Malice.” FIGURE 2 below.

        A permanent injunction barring Ms. Olszewski from making “further claims against

 [Erik Cardin] based on the allegations described in this Second Amended Complaint” is

 amply supported by the record.


                                                 1
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 2 of 18 PageID# 4097




       1. The Jury’s Verdict and the Trial Evidence

       The Jury returned its Verdict on Friday, July 16, 2021. FIGURES 1 and 2 show the Verdict.

                                          Figure 1
             Jury’s Verdict on Plaintiff Cardin’s Malicious Prosecution Claims




                                       Figure 2
                         Jury’s Verdict Finding Actual Malice




                                                 2
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 3 of 18 PageID# 4098




        The Trial Evidence presented the litany of Complaints and actions by Leah Olszewski

 after Erik Cardin left the Relationship on October 11, 2017 and moved out of their shared home

 on November 11, 2017. FIGURE 3 below shows the 15 Complaints/Actions.

        April 12, 2018 Criminal Complaint to the OSI. On April 12, 2018, Leah Olszewski filed

 her Criminal Complaint with the Air Force Office of Special Investigations (OSI) claiming that

 Erik Cardin physically assaulted her, and that she was then pregnant and miscarried. She alleged

 “killing an unborn child,” a felony under the UCMJ. The 2018 OSI Report of Investigation

 disassembles her claims. The detailed Report of Investigation includes among the OSI findings:

    o 2-3. On 13 Apr 18, SA TINNELL reviewed VICTIM's written statement dated
      3 Jan 17 [sic] (Exhibit 1), provided to 60th Security Forces Squadrons (SFS), Security
      Forces Office of Investigations (SFOI), TAFB, CA … VICTIM reported SUBJECT
      never hit her nor did he ever force her to do anything against her will.

    o 2-8. VICTIM INTERVIEW: On 23 Apr 18, SA JESSICA MATYI and SA
      NATHANIEL COOPER, AFOSI Det 121, Hurlburt Field (HFLD), FL, interviewed
      VICTIM at 223 Cody Avenue, HFLD, FL
        VICTIM never sought medical care or looked for any bruising or other injuries
        following these incidents

    o 2-23. On 10 May 18, SA TINNELL reviewed of VICTIM's text messages provided to
      SFS (Exhibit 10). The review disclosed the following information: VICTIM never
      informed anyone about a miscarriage.

 It was no surprise that the military prosecutor declined to prosecute Erik Cardin on any charges.

        Leah Olszewski’s OSI Criminal Complaint came after an Air Force investigation

 conducted at Travis AFB led to hearings with findings that the evidence did not support Ms.

 Olszewski’s claims that Mr. Cardin physically and/or emotionally abused her. In fact, the 60th

 Air Mobility Wing Central Registry Board not only determined that there was insufficient

 evidence against SMSgt. Cardin, but also that Ms. Olszewski was the emotional abuser!




                                                 3
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 4 of 18 PageID# 4099




        Protective Order Petitions. Moving beyond her many complaints to the United States

 Air Force, as shown in FIGURE 2, Leah Olszewski has filed and pursued Petitions for Protective

                     FIGURE 3                           Orders in three states. The order she
     Leah Olszewski’ Fifteen Complaints/Actions
                against Erik Cardin                     relies on is a temporary California

                                                        Protective Order on an ex parte filing

                                                        on September 20, 2018. California

                                                        typically requires that ex parte orders

                                                        be tested within a few weeks of filing.

                                                        It has now been 2½ years.

                                                                First, Ms. Olszewski filed in

                                                        Florida. In the September 2018 trial on

                                                        Ms. Olszewski’s ex parte Florida

                                                        Petition for a Protective Order, the

                                                        Santa Rosa County Circuit heard

                                                        testimony and received exhibits. At the

                                                        end of the trial, her Petition was denied

                                                        by written Order. In response to the

                                                        judge’s questioning, Ms. Olszewski

                                                        conceded that she sought no medical

                                                        care and she has no medical records

                                                        that support her claims of physical

                                                        assault, pregnancy and miscarriage.




                                               4
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 5 of 18 PageID# 4100




        Second, just eight days after the Florida Court’s denial of her Petition, Ms. Olszewski

 filed for another ex parte Protective Order against Erik Cardin, this time in California. The

 California DV-100 Request, now continued four times, made no mention of the negative Florida

 outcome.

        Lastly, defendant Olszewski filed for an ex parte Protective Order in Virginia in May

 2019. After a July 2019 trial in the Alexandria courts, Judge Donald M. Haddock, Jr. denied her

 Petition. Ms. Olszewski appealed; yet on November 1, 2019, the morning of the appeal trial in

 the Alexandria Circuit Court, she sent her counsel to withdraw her appeal.

        May 7, 2019 and October 31, 2019 Criminal Complaints. On May 7, 2019, Ms.

 Olszewski filed her Alexandria Criminal Complaint against Erik Cardin pursuant to Va. Code §

 18.2-60.3 for criminal stalking. Her Complaint ended when the Commonwealth’s Attorney

 moved for a Nolle Prosequi dismissal on June 11, 2019. The Court granted the Motion and

 dismissed.

        When asked in her April 8th, 2021 Deposition about what Mr. Cardin said to the Army

 and National Guard, she answered, “I have no idea.” This information void, however, did not

 deter her making another criminal claim against Erik Cardin based on that conversation. At 8:15

 p.m. on October 31, 2019 – the night before her scheduled trial on her appeal of the denial of her

 Alexandria Protective Order – Leah Olszewski filed her Criminal Complaint against Erik Cardin

 in Arlington County for violation of a protective order cited Va. Code § 16.1-253.1 as the legal

 basis. The Arlington County Commonwealth’s Attorney moved for a Nolle Prosequi dismissal

 on May 19, 2020. The Court granted the Motion, thus ending Leah Olszewski’s second criminal

 case in Virginia.




                                                  5
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 6 of 18 PageID# 4101




         Other Complaints. The Jury was permitted to consider Ms. Olszewski’s entire course of

 conduct towards Mr. Cardin when deciding the question of malicious prosecution. This conduct

 encompasses non-legal complaints, including her communications with Syracuse and UNC, as

 well as Booz-Allen Hamilton. Ms. Olszewski testified under oath in the Alexandria trial that she

 had not communicated with Booz Allen, although she later admitted in her Deposition to talking

 with them.

         2. Showing for a Permanent Injunction.

         A Federal Court has authority to issue injunctive relief under FRCP Rule 65(d). Its

 authority over this matter has since been confirmed. Winter v. Natural Resources Defense

 Council, Inc., 557 U.S. 7, 129 S. Ct. 365 (2008); Real Truth about Obama, Inc. v. FEC, et al.,

 575 F.3d 342 (4th Cir. 2009)). Winter created a new standard for granting injunctive relief, under

 which a movant must show that he will likely suffer irreparable harm, he is likely to succeed/ has

 already succeeded on the merits, the balance of equities tips in his favor, and an injunction would

 be the public interest.

         Recently, this Court, in RXD Media, LLC v. IP Application Dev., No. 1:18-CV-486, 2019

 WL 2569543, at *1 (E.D. Va. June 21, 2019) (O’Grady, J.), recited the requirements for a

 permanent injunction:

           A party seeking an injunction must demonstrate “(1) it has suffered an irreparable
           injury; (2) remedies available at law are inadequate; (3) the balance of the hardships
           favors the party seeking the injunction; and (4) the public interest would not be
           disserved by the injunction.” PBM Prods., LLC v. Mead Johnson & Co., 639 F.3d
           111, 126 (4th Cir. 2011).

 See also, Hair Club for Men, LLC v. Ehson, No. 1:16-CV-236, 2016 WL 6780310, at *2 (E.D.

 Va. Nov. 14, 2016);

         Plaintiff Erik Cardin plainly satisfies these requirements, as argued below.


                                                  6
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 7 of 18 PageID# 4102




        Irreparable Harm. Leah Olszewski’s relentless pursuit of Erik Cardin was described in

 detail in trial. Plaintiff Cardin testified about the injuries he endured from Ms. Olszewski’s non-

 stop actions, including the harm to his reputation and “good-will,” his two arrests, the

 deprivation of his right to liberty,1 the loss of his security clearance, and his denial from UNC/

 his firing from Booz Allen as a result of Ms. Olszewski’s communications with them. This Court

 has held that the alleged irreparable harm must be actual and immediate, not speculative or

 remote in time. See FBR Capital Markets & Co. v. Short, 2009 U.S. Dist. LEXIS 94558 (E.D.

 Va. Oct. 9, 2009) (J. O’Grady). The harm that Erik Cardin faces is certainly actual and

 immediate. Looking at Ms. Olszewski’s pattern of action, whenever she has failed to achieve the

 result she wanted, she has promptly brought another charge or suit against Mr. Cardin. This is

 often within several months, but sometimes has been within mere days (FIGURE 3 above).

        Already, Ms. Olszewski is not backing down from her California Protective Order even

 though her California attorney withdrew shortly before trial in this Court. Erik Cardin is

 preparing yet again go to trial, represented by an attorney, in order to clear his name. As the Jury

 verdicts were being read in trial, Ms. Olszewski ran from the courtroom, crying and saying how

 no one believes her. She has made it clear to everyone that she will not stop pursuing further

 action against Mr. Cardin.




 1
   In general, malicious prosecution does not constitute a deprivation of liberty without due
 process of law. Cline v. Brusett, 661 F.2d 108, 112 (9th Cir. 1981). However, an exception exits
 where malicious prosecution is conducted with the intent to distort or corrupt the process of the
 law. Bretz v. Kelman, 773 F.2d 1026, 1031 (9th Cir. 1985) (en banc). By acting with actual
 malice in making both of her Virginia claims against Mr. Cardin, Leah Olszewski abused the law
 to get Erik Cardin arrested.

                                                  7
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 8 of 18 PageID# 4103




        Remedies at Law Inadequate. Erik Cardin pursued his legal claims for Malicious

 Prosecution. Mr. Cardin’s personal resources were limited to begin with, and are now more than

 depleted. If Ms. Olszewski continues, then Mr. Cardin likely does not have the resources to

 continue to defend himself against her and the advocacy groups that have covered her legal fees

 to this point. The monetary damages which Mr. Cardin was awarded by the Jury do not prevent

 her future harassment. Without an injunction, Plaintiff Cardin would very likely suffer continued

 torment and be forced to “bring successive suits for monetary damages.” Id. (quoting Teaching

 Co. P'ship v. Unapix Entm't, Inc., 87 F. Supp. 2d 567, 587 (E.D. Va. 2000)). Erik Cardin

 succeeded in Trial, yet the threat of further injury to Mr. Cardin by Ms. Olszewski is still very

 much present. Injunctive relief is the sole adequate way to remedy this harm. See Roland Mach.

 Col. V. Dresser Indus., Inc., 749 F.2d 380, 386 (7th Cir. 1984).

        Balance of Hardships. The balance of hardships weighs in a plaintiff's favor when there

 is “no legal right [for the Defendant] to continue their current course of conduct.” See Portfolio

 Recovery Assocs., Inc. v. Portfolio Recovery Grp., LLC, 2013 WL 5723869, at *10 (E.D. Va.

 Oct. 18, 2013); Hammerhead Entm't, 2011 WL 2938488, at *9 (same).

        Ms. Olszewski’s reasonable pursuit of Erik Cardin ended long ago. After hearing all the

 relevant evidence and testimony that both sides had to offer, the Jury determined exactly this,

 finding that Ms. Olszewski acted with both legal and actual malice in her two Virginia claims. In

 other words, Ms. Olszewski was found to have had a sinister or corrupt motive. Now more than

 ever, Ms. Olszewski has no right to continue her course of conduct.

        Public Interest. Representatives of the general public, the Jurors, determined Ms.

 Olszewski’s behavior to be malicious. Accordingly, it is in the public interest that such behavior

 be stopped. The public interest lies with justice. Ms. Olszewski should be blocked from further



                                                  8
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 9 of 18 PageID# 4104




 injuring Mr. Cardin by abusing the justice system. Ms. Olszewski cannot and will not be stopped

 by means other than injunctive relief. The Court’s issuance of injunctive relief is, not only

 necessary, but plainly within the public interest.

        3. The Scope of the Injunction and the Safe Distance Rule.

        The proposed language will hopefully enjoin Leah Olszewski from making further

 claims against Erik Cardin based on the allegations described in his Second Amended

 Complaint. There is a parallel here to the “safe distance” rule, which posits in a business setting

 that “once a company commits an unfair business practice it ‘should thereafter be required to

 keep a safe distance away from the margin line.’” See Osem Food Indus. Ltd. v. Sherwood

 Foods, Inc., 917 F.2d 161, 164 n.4 (4th Cir. 1990).

        Allegations Within Second Amended Complaint. In Plaintiff Cardin’s Second

 Amended Complaint, he summarizes his allegations as such:

    •   Leah Olszewski has repeatedly made statements and criminal allegations
        about Erik J. Cardin.

    •   She has abused the courts and the legal system, and likely will continue to do so
        unless stopped by the courts.

 More specifically, Mr. Cardin alleges the following as “Material Facts”:

 The Barrage of False Statements and Allegations.

        ¶ 8. Ms. Olszewski has claimed:

        “SMSgt (Ret.) Cardin had assaulted me 5 times, including strangulation in July of
        that year, … On October 11, 2017 SMSgt (RET) Cardin committed the worst assault
        on me yet. Knowing I was pregnant this evening he, among other things, pulled back
        both of his legs and kicked me with the full force of both of his feet in the abdomen,
        so hard I flew off our bed and into closet doors, knocking them off their tracks. He
        then grabbed and pulled my hair, not allowing me to leave, took my phone, and then
        grabbed and pushed me down at the top of stairs as he often did …”



                                                      9
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 10 of 18 PageID# 4105




           And she continued,

           “He kicked me in the abdomen with both of his feet. He knew I was pregnant. I called
           the police, and he ran from the house. Over the next three days, I miscarried.”

    Ms. Olszewski’s accusations were made multiple times, most recently in her September 18,

 2019 Congressional Hearings testimony, which with her permission and encouragement was

 republished in the October 23, 2019 (updated December 14, 2019) edition of The Huffington

 Post, and also broadcast on ABC News and on NPR Radio.

    ¶ 9. Ms. Olszewski continues her accusations against Erik Cardin:

           “SMSgt (Ret.) Cardin continues to threaten me, retaliate, and follow me with no
           consequence while I continue to live in fear and spend time, money and energy to
           stay safe and get away from him.”

           Again, shown to be an untrue statement at trial.

 A Relationship “that ended badly” from Northwest Florida to Vacaville, California.

           ¶ 18. In an extended Text session on November 11th, Ms. Olszewski threatened Erik
 Cardin:

                  “Now im going to support the DA so youll end up with midemanor
                  and no guns the rest of ur days.
                  And im going to file with the air force.
                  So osi and jag will know. And youll be
                  reprimanded. This is what u asked for
                  By not being capable of being a man
                  And a decent human being
                  And u can forget unc and Syracuse”

           Twelve days later she seethed in her November 23, 2017 email, “I hate you,” then “And

 now, you’ll get exactly what you asked for …” She continued in her email, “you don’t have the

 balls …,” that he is “insecure and immature,” and “You ABANDONED me …” She added,

 “And now you're getting it.…all the stinky things that are coming your way …” These threats


                                                   10
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 11 of 18 PageID# 4106




 would be Leah Olszewski’s manual for her Fury Campaign against Erik Cardin for the next 2½

 years.

 Complaints Filed with Air Force Family Advocacy and AF Inspector General.

          ¶ 26. The Air Force investigated. Hearings were held on December 19, 2017 and

 January 25, 2018 before the Central Registry Board at Travis AFB. The Board concluded

 that there was no basis for Ms. Olszewski’s claims of physical and emotional abuse by

 SMSgt (Ret.) Cardin.

 Ms. Olszewski’s April 2018 Claims to the Air Force OSI.

          ¶ 34. Still brimming with anger with Erik Cardin for leaving the relationship and equally

 angry at the Air Force, Ms. Olszewski alleged in a report filed on April 13, 2018 with the Air

 Force Office of Special Investigations (“OSI”) that she was pregnant back in October 2017, and

 that SMSgt (Ret.) Cardin assaulted her and caused a miscarriage. Six months had passed since

 the alleged incident at their Vacaville residence. This was her first mention of an alleged

 pregnancy to the Air Force.

 Santa Rosa County, Florida Protective Order.

          ¶ 40. Ms. Olszewski returned to Northwest Florida in January 2018.

          ¶ 41. Ms. Olszewski filed in August 2018 for a Protective Order in Santa Rosa

 County, Florida. This was ten months after Erik Cardin left the relationship. Even though

 Erik Cardin was not living in Florida, Ms. Olszewski alleged that she was fearful that he

 might return to Florida because he owned a house in the area.

          ¶ 42. Ms. Olszewski’s basis for her Petition for a Protective Order in Florida was her

 police report from October 2017 in Vacaville, CA




                                                  11
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 12 of 18 PageID# 4107




        ¶ 43. The Santa Rosa County (Florida) Court conducted on September 12, 2018 an

 evidentiary hearing on Ms. Olszewski’s Petition. After the full hearing, the Florida Court

 found that there was insufficient evidence supporting Ms. Olszewski’s claims.

 Ms. Olszewski Files for Protective Order in Solano County, California.

        ¶ 45. Furious over the Florida Court’s denial of her Petition for a Protective Order,

 Ms. Olszewski filed one week later on September 20, 2018 for a Protective Order in Solano

 County, California. This was approximately one month after the OSI Report and after the

 Air Force SJA had rejected her claims.

        ¶ 46. Her California Petition asserts that she was living and working in Vacaville,

 California, and that she feared Erik Cardin would come after her. The home address she used

 when filing the California petition was her Florida address.

        ¶ 47. A hearing on Ms. Olszewski’s Petition was set for October 12, 2018. In a

 Facebook post that day, Ms. Olszewski referred to Erik Cardin as “the evil, likely mentally ill

 sociopath.” She sought recommendations for a “killer attorney.”

        ¶ 48. Erik Cardin appeared for the hearing represented by counsel. Ms. Olszewski

 was without counsel and said she was not prepared to go forward. The Court rescheduled the

 hearing for a date four months later.

        ¶ 49. In February 2019, when the matter came before a Commissioner in Solano

 County, California, it was pushed back to May 17, 2019 for a full trial. But in May 2019, the

 matter was continued yet again. The California Court continued the Protective Order hearing

 because Ms. Olszewski had signed a sworn affidavit before a Virginia Magistrate in which

 she accused Erik Cardin of stalking her.




                                                 12
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 13 of 18 PageID# 4108




 Virginia Protective Order and Ms. Olszewski’s Stalking Claims.

        ¶ 58. Ms. Olszewski claimed that she saw Erik Cardin drive by on April 30, 2019

 when she was in the Eisenhower Avenue area in Alexandria, Virginia.

        ¶ 59. Undeterred by the string of rejections by the Air Force, various investigations

 and Boards that found against her, and by the Florida Court’s dismissal of her Petition for a

 Protective Order, Ms. Olszewski brought new claims to the Alexandria Police Department of

 Erik Cardin stalking her. The Alexandria Police determined that her claims did not support

 stalking charges.

        ¶ 60. Unsuccessful in Alexandria, on May 7, 2019 Ms. Olszewski appeared before a

 Virginia magistrate seeking a Protective Order and again making stalking claims against

 SMSgt (Ret) Cardin. She made a sworn statement to the Magistrate.

        ¶ 61. Ms. Olszewski included in her statement to the Virginia magistrate that the

 temporary California Protective Order from California was still in place, but she did not

 explain that the matter lingered because three times it had been continued at her request. She

 also made no mention to the Virginia magistrate that the Santa Rosa County, Florida Court

 had denied her petition filed in that jurisdiction after a full evidentiary hearing, and she said

 nothing about the Air Force investigations, including the in-depth OSI investigation and

 Report, and the Air Force SJA action that rejected her claims.

        ¶ 62. The Virginia magistrate listened to Ms. Olszewski. Erik Cardin had not even

 been advised of the appearance. The Virginia Temporary Protective Order was issued along

 with a warrant for his arrest on Ms. Olszewski’s stalking charges.




                                                   13
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 14 of 18 PageID# 4109




        ¶ 63. Erik Cardin was notified of the warrant. He turned himself in to the Alexandria

 police. He was locked-up in the City jail for five days. It was several days before his

 Virginia counsel procured his release.

        ¶ 64. A General District Court hearing was set in the Alexandria Courts.

        ¶ 65. The June 11, 2019 Alexandria Court hearing went as the prior hearings did –

 this time the prosecution filed a Nolle Prosequi dismissing the criminal charges.

        ¶ 66. But again Ms. Olszewski was not deterred. She continued her pursuit of the

 Protective Order as a civil matter.

        ¶ 67. The Protective Order came before the Alexandria General District Court on

 July 10, 2019. After hearing the evidence, the Alexandria Court denied Ms. Olszewski’s

 Petition and dismissed the matter.

        ¶ 68. She appealed the General District Court decision to the Circuit Court. When

 the matter came before the Alexandria Circuit Court on November 1, 2019, Ms. Olszewski’s

 counsel appeared to inform that Court that the appeal was being withdrawn at Ms.

 Olszewski’s request.

 October 31, 2019 Criminal Complaint in Arlington County, Virginia.

        ¶ 69. The evening before Mr. Olszewski was to be in Alexandria Circuit Court on her

 appeal of the General District Court’s dismissal of her civil claims, she swore out a Criminal

 Complaint against SMSgt. (Ret.) Cardin in Arlington seeking his arrest and incarceration.

        ¶ 70. Ms. Olszewski alleges in her October 31st Criminal Complaint that “In July &

 August 2019, Erik Cardin … filed a complaint with my employer.” This, she claims, is

 harassment. Ms. Olszewski continues that “This harassment is a violation of my protective order

 …” She used the Criminal Complaint to obtain yet another warrant for Erik Cardin’s arrest.



                                                 14
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 15 of 18 PageID# 4110




        ¶ 71. The Protective Order Ms. Olszewski refers to is the Solano County, California

 order from 2017. Again, she made no mention of the Florida Court’s denial of her Petition after

 hearing the evidence, and no mention of the litany of failed claims she had made against SMSgt

 (Ret.) Cardin.

        ¶ 72. When Ms. Olszewski’s attorney appeared on November 1, 2019 in the Alexandria

 Circuit Court on her behalf to dismiss her appeal of the General District Court’s dismissal of her

 claims, he made no mention that the evening before Ms. Olszewski had filed in Arlington

 County her fifteenth complaint against SMSgt (Ret) Cardin. SMSgt (Ret.) Cardin and his

 attorney were present and were prepared to try the appeal.

        ¶ 73. SMSgt (Ret.) Cardin learned of Ms. Olszewski’s Arlington criminal complaint

 against him when two FBI agents came to his house in Maine.

        ¶ 74. In February 2020, upon learning of the October 31, 2019 Criminal Complaint and

 Warrant, SMSgt (Ret.) Cardin returned from Maine to Virginia, turned himself in to the

 Arlington Police. He was released on his own recognizance to return for trial. Trial on Ms.

 Olszewski’s latest claims was set for late March 2020, but then continued to May 2020.

        ¶ 75. When Ms. Olszewski’s latest criminal claims came before the Arlington County

 Court, the prosecutor entered another Nolle Prosequi, which ended the matter unfavorably for

 Ms. Olszewski.

        ¶ 76. During this episode, Ms. Olszewski made no mention of her many claims and

 complaints filed regarding SMSgt (Ret.) Cardin, no mention of the Florida Court’s dismissal of

 her claims after a full hearing, no mention of the Nolle Prosequi dismissing her prior criminal

 claims, and no mention of the Alexandria Court’s dismissal of her related civil claims and of her

 plans to dismiss her appeal.



                                                 15
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 16 of 18 PageID# 4111




 Back to Solano County, California.

        ¶ 77. Still outstanding is Ms. Olszewski’s Petition for a Protective Order in Solano

 County, California. Three times the trial on this has been continued at Ms. Olszewski’s request.

 Booz Allen Hamilton Employment and Syracuse MBA.

        ¶ 80. After losing his Booz Allen job (likely because of Leah Olszewski’s interference)

 and unable to find comparable employment in the DC area, and dealing with the Virginia courts

 and the continued harassment from Ms. Olszewski, Erik Cardin moved to Maine in June 2019.

 He worked in Maine at a substantially lower salary, but not in a position that required a security

 clearance. With the current economic downturn and his NCIC Database profile thwarting any

 job search, he is now unemployed.

        ¶ 81. Starting in July 2018, Erik Cardin enrolled in the online MBA program at Syracuse

 University. Ms. Olszewski tracked down his admission to Syracuse, and she gave a statement to

 the university that she was a victim of his domestic abuse and assault, and she filed a formal

 Title IX complaint against Erik Cardin. When her efforts stalled, she wrote directly to the

 University President imploring him to expel Erik Cardin from the University.

 Consequences of the Public False Statements and Allegations.

        ¶ 83. As a direct result of Ms. Olszewski’s series of allegations and her continued claims

 made against him to the Air Force, in her filings in California and in Florida, Erik Cardin has

 been financially harmed and his reputation severely damaged.

        Applicability of Safe Distance Rule. In a business setting, the Safe Distance Rule

 is a broad equitable remedy that allows courts to create a zone of safety around trademark

 holders victimized by counterfeiting or other unlawful use of the marks. It requires courts to

 draft injunctive relief broadly enough to ensure that a past infringer will not have the opportunity



                                                  16
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 17 of 18 PageID# 4112




 to infringe an owner’s rights in the future. See Dominic’s Rest. of Dayton v. Mantia, 2009 U.S.

 Dist. LEXIS 120098, *3-4 (S.D. Ohio Dec. 3, 2009).

        4. Conclusion.

        The Court should create a zone of safety around Erik Cardin, who has been maliciously

 prosecuted by Leah Olszewski. The Jury has found her to do so with corrupt motives. The Court

 should protect Erik Cardin by issuing a permanent injunction, barring Ms. Olszewski from

 making further claims based on the allegations described above from the Second Amended

 Complaint. Such relief would prohibit her from harming Erik Cardin in the future, as she has

 done relentlessly in the past 2½ years.


                                                     Respectfully submitted,

                                                     ERIK J. CARDIN
                                                     By Counsel


 By:    __/s/ James S. Kurz_________________
        James S. Kurz (VSB #16610)
        REDMON, PEYTON & BRASWELL, LLP
        510 King Street, Suite 301
        Alexandria, VA 22314
        Tel: (703) 684-2000/ Fax: (703) 684-5109
        Email: JKurz@RPB-law.com




                                                17
Case 1:19-cv-01646-LO-JFA Document 213 Filed 07/30/21 Page 18 of 18 PageID# 4113




                                 CERTIFICATE OF SERVICE

        I certify that a true copy of this pleading was filed on this the 30th day of July 2021 via

 the Court’s ECF System, which filing is valid service on all counsel record.


                                            __/s/ James S. Kurz_________________
                                            James S. Kurz (VSB #16610)
                                            Tel: (703) 684-2000/ Fax: (703) 684-5109
                                            Email: JKurz@RPB-law.com




                                                  18
